  Case 21-09349      Doc 47   Filed 09/29/21 Entered 09/29/21 17:00:50            Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                        )           BK No.:     21-09349
COLIN O. HEBSON                               )
MICHELLE L. HEBSON                            )           Chapter: 11
                                              )
                                              )           Honorable Janet S. Baer
                                              )
              Debtor(s)                       )

           ORDER EXTENDING EFFECTIVENESS OF PRIOR INTERIM ORDER
               AUTHORIZING INTERIM USE OF CASH COLLATERAL

       THIS MATTER COMING TO BE HEARD upon the continued Motion of COLIN O. HEBSON
and MICHELLE L. HEBSON, Debtors and Debtors-in-Possession herein, for Authority to Use Cash
Collateral (the "Motion") pursuant to section 363 of the Bankruptcy Code, Rule 4001(b) of the Federal
Rules of Bankruptcy Procedure, and Rule 4001-2 of the Local Rules of this Court; the Court having
entered an Interim Order Authorizing Interim Use of Cash Collateral (the "Interim Order") on August
18, 2021, at Docket No. 24,

       IT IS HEREBY ORDERED AS FOLLOWS:

       (1) The effectiveness of the Interim Order is extended to and including October 31, 2021; and

      (2) A further hearing with respect to the Motion is scheduled before the Court via Zoom for
Government on October 13, 2021 at 9:30 a.m.



                                                         Enter:


                                                                  Honorable Janet S. Baer
Dated: September 29, 2021                                         United States Bankruptcy Judge

Prepared by:
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